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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                              CASE NO.: 21- 20086-Civ-COOKE/DAMIAN

  NEWTON GOMEZ, an individual,

         Plaintiff,
   v.

  TEAM AMERICA MIAMI, INC., a New
  York Corporation,

        Defendant.
  ______________________________________/

               PLAINTIFF’S MOTION TO DEEM TEAM AMERICA SERVED

         Plaintiff, NEWTON GOMEZ, by and through his undersigned counsel, hereby files this

  motion to deem Defendant TEAM AMERICA MIAMI, INC. served and support states as follows:

         1.         Plaintiff filed his Complaint on January 7, 2021 [D.E. 1] and immediately attempted

  to serve Defendant, TEAM AMERICA MIAMI, INC. and engaged the services of a process server.

         2.         Defendant, TEAM AMERICA MIAMI, INC., is a foreign corporation organized

  under the laws of New York.

         3.         The Court’s January 26, 2021 Order [D.E. 4], ordered Plaintiff to expedite service

  and serve Defendant within sixty (60) days of the Order.

         4.         However, Defendant despite Plaintiff’s attempts, Plaintiff has been unable to effect

  personal service on Defendant.

         5.         Plaintiff’s process server attempted service at the Defendant’s registered agent’s

  address at 1850 Collins Avenue, Miami Beach, Florida several times without success and it is clear

  that Defendant is not maintaining the office of the process server in accordance with Section 48.09,

  Fla. Stat., which requires a corporation from 10 a.m. to 12 noon each day except weekends and

  legal holidays.
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         6.       Multiple attempts at service have resulted in the process server finding the location

  to be of a hotel which is closed and not finding any signage related to the Defendant on the

  premises. Please see Returns of Service attached hereto as Exhibit A and B.

         7.       On January 13, 2021, Plaintiff’s process server attempt service at the Defendant’s

  registered agent at address 1850 Collins Avenue, Miami Beach, Florida 33139 and was unable to

  do so. (See Return of Non-Service attached hereto as Exhibit “A”).

         8.       On February 9, 2021, Plaintiff’s process server attempt service at the Defendant’s

  registered agent at address 1849 James Avenue, Miami Beach, Florida 33139 and was unable to

  do so. (See Exhibit “A”).

         9.       On February 11, 2021, Plaintiff’s process server attempt service at the Defendant’s

  registered agent at address 1850 Collins Avenue, Miami Beach, Florida 33139 and was unable to

  do so. (See Exhibit “A”).

         10.      After multiple attempts to serve the registered agent, Plaintiff’s engaged the

  services of a process server in New York City to serve Defendant at its principal address pursuant

  to filings with the Florida Secretary of State.

         11.      On February 18, 2021, Plaintiff’s process server attempt service at the Defendant’s

  registered agent at address 33 West 46th Street, New York, New York 10036 and was unable to do

  so due to the storefront being closed due to Covid. (See Affidavit of Service attached hereto as

  Exhibit “C”).

         12.      On February 22, 2021, Plaintiff’s process server attempt service at the Defendant’s

  registered agent at address 33 West 46th Street, New York, New York 10036 and was unable to do

  so due to the storefront being closed. (See Exhibit “C”).




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          13.    On February 23, 2021, Plaintiff’s process server attempt service at the Defendant’s

  registered agent at address 33 West 46th Street, New York, New York 10036 and was unable to do

  so due to the storefront being closed. (See Exhibit “C”).

          14.    Plaintiff’s process server conducted a skip trace for Defendant’s registered agent

  and sole corporate officer, Vincenzo Perretta which provided the process server with a second New

  York City address.

          15.    On March 2, 2021, Plaintiff’s process server attempt service at the Defendant’s

  registered agent at address 425 West 53rd Street, PH 10, New York, New York 10019 and was

  unable to do so due to no response at the home address. (See Affidavit of Service attached hereto

  as Exhibit “C”).

          16.    On March 4, 2021, Plaintiff’s process server attempt service at the Defendant’s

  registered agent at address 425 West 53rd Street, PH 10, New York, New York 10019 and was

  unable to do so due to no response at the home address. (See Exhibit “C”).

          17.    On March 6, 2021, Plaintiff’s process server attempt service at the Defendant’s

  registered agent at address 425 West 53rd Street, PH 10, New York, New York 10019 and was

  unable to do so due to no response at the home address. (See Exhibit “C”).

          18.    Defendant lists only one officer, who is the same as its registered agent, Vincenzo

  Perretta.

          19.    As a result of the pandemic and closings in New York City, Plaintiff has faced

  several unique challenges in serving Defendant, despite Plaintiff’s diligent efforts to do so.

          20.    As Plaintiff has been unable to personally serve Defendant, Plaintiff sent a copy of

  the process and initial pleading to the Florida Secretary of State, pursuant to Section 48.161, Fla.

  Stat.



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         21.      The statute permits substitute service on non-residents who conceal their

  whereabouts

         22.      The Florida Department of State, Division of Corporations issued a letter that

  confirmed that process and initial pleadings was accepted for TEAM AMERICA MIAMI, INC.

         23.      Pursuant to the statute, Plaintiff sent via certified mail a copy of the letter from the

  Florida Department of State, the Complaint and the summons to the address listed for Defendant’s

  registered agent. That letter was returned to sender. A copy of the returned mail is attached hereto

  as Exhibit D.

         24.      A search of the tracking number for the certified mail shows that it was initially

  delivered in Miami beach on May 25, 2021, prior to it being returned to sender. A copy of the

  tracking history is attached hereto as Exhibit E.

         25.      Realizing that Defendant was actively evading service, Plaintiff amended his

  Complaint filed on August 17, 2021, to reflect allegations that Defendant was evading service.

         26.      In a letter dated September 3, 2021, the Florida Department of State, Division of

  Corporations accepted served for Defendant. A copy of the letter is attached hereto as Exhibit H.

         27.      Pursuant to the statute, Plaintiff sent the same mailings to the address that had been

  previously identified as being associated with either Defendant or its principal and registered agent

  VINCENZO PERRETTA, and the notes from the United States Post Office indicate that the mail

  was refused.

         28.      Per the statute, Plaintiff also sent the return from Florida’s Secretary of State to all

  the address listed above via certified mail. To date, Plaintiff has only received two of the returns

  from the United States Post office:




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                      a. The mailing to 33 West 46th Street, New York, New York, a copy of the

                          envelope is attached hereto as Exhibit F, was returned to Sender with the note

                          that “addressee was not at location” it also contained a handwritten note that

                          said “refused”; and

                      b. The mailing sent to 425 West 53rd Street, New York, New York, a copy of the

                          envelope is attached hereto as Exhibit G, was returned to sender with the note

                          “not deliverable as addresses unable to forward.”

             29.      Plaintiff has employed a variety of good faith efforts to serve Defendant, and in

  effort to do so, even after receiving the acceptance from the Florida Department of State, Plaintiff

  re-attempted service on Defendant’s registered agent at yet another Miami address Plaintiff

  believes to be owned by Mr. Perretta, the registered agent and sole corporate officer for

  Defendant 1.

             30.      It is clear that Defendant is avoiding service at all costs and even apparently

  refusing mailings.

             31.      Plaintiff has filed a notice of compliance with Section 48.161, Fla. Stat. as Plaintiff

  has sent the process to the secretary of state and sent a copy to the registered agent’s address.

             32.      This extension is sought in good faith and not for the purposes of undue delay.

                      SUPPORTING MEMORANDUM OF LEGAL AUTHORITY

             “A district court retains the inherent authority to manage its own docket,” which will be

  reviewed only for an abuse of discretion. See, e.g., Wilson v. Farley, 203 Fed.Appx. 239, 250 (11th

  Cir. 2006) (citing Four Seasons Hotels and Resorts, B.V. v. Consorcio Barr S.A., 377 F.3d 1164,

  1172 n. 7 (11th Cir.2004)). The decision whether to amend the Order is subject to the Court’s



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      Property records demonstrate that the property is owned by an individual named Vincenzo Perretta.

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  “inherent authority [and discretion] to manage its own docket ‘so as to achieve the orderly and

  expeditious disposition of cases.’” Equity Lifestyle Prop., Inc. v. Fla. Mowing And Landscape

  Serv., Inc., 556 F.3d 1232, 1240 (11th Cir. 2009) (citing Chambers v. NASCO, Inc., 501 U.S. 32,

  43, 111 S.Ct. 2123, 2132, 115 L.Ed.2d 27 (1991)).

         Plaintiff filed his Complaint on January 7, 2021 [D.E. 1] and immediately attempted to

  serve Defendant, TEAM AMERICA MIAMI, INC. and engaged the services of a process server.

  The Court’s January 26, 2021 Order [D.E. 4], ordered Plaintiff to expedite service and serve

  Defendant within sixty (60) days of the Order.

         The deadline for the plaintiff to serve Defendant, TEAM AMERICA MIAMI, INC. is

  currently March 29, 2021. However, Defendant despite Plaintiff’s attempts, Defendant has not yet

  been served.

         WHEREFORE, Plaintiff respectfully requests this Court deem Defendant, TEAM

  AMERICA MIAMI, INC. to have been properly served pursuant to Section 48.161, Fla. Stat.

         DATED: February 17, 2022

                                                       Respectfully Submitted,


                                                       GARCIA-MENOCAL & PEREZ, P.L.
                                                       Attorneys for Plaintiff
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                                                       By: ___/s/_Anthony J. Perez________
                                                              ANTHONY J. PEREZ
                                                              Florida Bar No.: 535451




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                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing was served via the

  Court's electronic filing system upon all parties of record on February 17, 2021.


                                                       GARCIA-MENOCAL & PEREZ, P.L.
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                                                       By: ___/s/_Anthony J. Perez________
                                                              ANTHONY J. PEREZ
                                                              Florida Bar No.: 535451




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